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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

 DIANA CENCETTI, INDIVIDUALLY,                  §
 & AS PERSONAL                                  §
 REPRESENTATIVE OF THE ESTATE                   §
 OF DAVID MALDONADO,                            §
 DECEASED,                                      §
              Plaintiffs,                       §
                                                §
              v.                                § CIVIL ACTION NO.          5:20-cv-1395
                                                §
 AGCO CORPORATION,                              §
             Defendant.                         § JURY REQUESTED

              DEFENDANT AGCO CORPORATION’S NOTICE OF REMOVAL

TO:      THE CLERK OF COURTS AND THE HONORABLE JUDGES OF THE UNITED
         STATES DISTRICT COURTS FOR THE WESTERN DISTRICT OF TEXAS,
         SAN ANTONIO DIVISION

         Pursuant to 28 U.S.C. §§ 1332, 1441(b), and 1446, Defendant AGCO Corporation

(“AGCO”) hereby files this Notice of Removal of the action styled Diana Cencetti,

Individually, & as Personal Representative of The Estate of David Maldonado, Deceased,

v. AGCO Corporation, Cause No. C20202-1892A, from the 22nd Judicial District Court,

Comal County, Texas, where the action now is pending, to the United States District Court

for the Western District of Texas, San Antonio Division, on the basis of diversity of

citizenship and the amount in controversy, and respectfully shows the following:

                                    I.     INTRODUCTION

         1.        On November 9, 2020, Plaintiff Diana Cencetti, Individually and as Personal

Representative of the Estate of David Maldonado, Deceased, filed her Original Petition,

styled Diana Cencetti, Individually, & As Personal Representative Of The Estate Of David


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Maldonado, Deceased, Cause No. C20202-1892A, in the 22nd Judicial District Court, Comal

County, Texas.

         2.          Defendant AGCO was served with the citation and Original Petition on

November 16, 2020.

         3.          No other pleadings have been served upon AGCO, and no other orders have

been entered by the Court.

         4.          This Notice of Removal is timely under 28 U.S.C. § 1446(b) because it is

filed within 30 days of AGCO’s receipt of the citation and Original Petition, and within

one year of the commencement of the action.

               II.       BASIS FOR REMOVAL: DIVERSITY JURISDICTION

         5.          Removal is proper based on diversity of citizenship between the parties under

28 U.S.C. §§ 1332(a), 1441(a) and 1446.

A.       PLAINTIFF AND DEFENDANT ARE DIVERSE.

         6.          Upon the investigation and good faith belief, as pled in the Original Petition,

Plaintiff Diana Cencetti is, and was at the time the lawsuit was filed, a resident of Comal

County, Texas, and a citizen of the State of Texas.

         7.          By contrast, Defendant AGCO Corporation is a Delaware corporation

organized under the laws of the State of Delaware and maintains its principal place of

business in Duluth, Georgia. Accordingly, AGCO is a citizen of both Delaware and

Georgia.




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B.       THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.

         8.       This is a civil action in which the amount in controversy exceeds $75,000.00.

As set forth on the face of the Original Petition, Plaintiff has pled “for monetary relief over

$1,000,000.00.” See Original Pet., Exhibit B, ¶ 8. In addition, Plaintiff seeks to recover

exemplary damages, interest, “costs of court, and such other and further relief to which the

Plaintiffs may be entitled at law or in equity.” Id. at ¶ 41.

         9.       Because it is clear from the face of the Original Petition that Plaintiff’s

alleged damages as pled exceed $75,000.00, removal is proper.

                                         III.   VENUE

         10.      Pursuant to 28 U.S.C. § 1441(a), venue is proper in this Court for purposes

of removal only because it is the district and division embracing the place where such

action is pending, the 22nd Judicial District Court of Comal County, Texas.

                IV.       PROCEDURAL REQUIREMENTS FOR REMOVAL

         11.      AGCO has complied with all applicable provisions of 28 U.S.C. §1441 et

seq., and the applicable Federal Rules of Civil Procedure.

         12.      AGCO attaches hereto those materials required to be filed upon removal in

accordance with 28 U.S.C. § 1446(a). Specifically, this Notice of Removal is accompanied

by copies of the following:

         EXHIBIT A: Index of Documents Being Filed;

         EXHIBIT B: Plaintiff’s Original Petition in Cause No. C20202-1892A;

         EXHIBIT C: Request for Process in Cause No. C20202-1892A;




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         EXHIBIT D: Citation Issued to AGCO Corporation in Cause No. C20202-1892A,

                            with Affidavit of Service; and

         EXHIBIT E: List of Counsel of Record.

         13.      This Notice of Removal is being filed within 30 days of service of the citation

and Plaintiff’s Original Petition, and is thus timely filed under 28 U.S.C. §1446(b). There

exists an actual and justiciable controversy between Plaintiff and Defendant with regard to

the legal issues herein and this controversy is within the jurisdiction of this Court.

         14.      Based upon information and belief, pursuant to 28 U.S.C. § 1446(a), all

pleadings, process, orders and all other filings in the state court action are attached to this

Notice.

         15.      Pursuant to 28 U.S.C. § 1446(d), written notice of filing of this Notice of

Removal will be given to all adverse parties promptly after the filing of same.

         16.      Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of the Notice of

Removal will be filed with the District Clerk for the 22nd Judicial District Court of Comal

County, Texas promptly after filing of same.

         17.      Additionally, the applicable filing fee for removal has been tendered to the

Clerk of the United States District Court for the Western District of Texas, San Antonio

Division, along with the original Notice of Removal.

         18.      AGCO reserves the right to amend or supplement its Notice of Removal.

         19.      By filing this Notice of Removal, AGCO does not waive, and expressly

reserves its right to assert any and all procedural and/or substantive defenses, claims, pleas,

or motions, including, if any, pleas in abatement, motions to compel arbitration, and


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motions permitted by Rule 12 of the Federal Rules of Civil Procedure, including those

defenses of lack of personal jurisdiction and improper venue.

         20.      AGCO requests a trial by jury.

         21.      No previously application has been made for the relief requested herein.

         WHEREFORE, Defendant AGCO Corporation gives notice that this action now

pending against it in the 22nd Judicial District Court, Comal County, Texas, is removed to

this Court on this 7th date of December 2020.

                                             Respectfully submitted,

                                             LORANCE THOMPSON, P.C.


                                             /s/ Robert G. Smith
                                             Robert G. Smith
                                             Tex. Bar No. 00794661
                                             Adam J. Russ
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                                             Attorneys for Defendant, AGCO Corporation




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                                 CERTIFICATE OF SERVICE

      The undersigned certifies that a copy of the foregoing Defendant AGCO
Corporation’s Notice Of Removal was filed and served electronically on this 7th day of
December, 2020, upon the following:

         Peter M. Zavaletta
         State Bar No. 22251600
         LAW OFFICES OF THOMAS J. HENRY
         P.O. Box 150
         Corpus Christi, Texas 78403
         Telephone: 361-985-0600
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         ATTORNEYS FOR PLAINTIFFS



                                         /s/ Robert G. Smith
                                         Robert G. Smith




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